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Nov = 7 203 LJ
IN THE UNITED STATES DISTRICT COURT = 7.223
FOR THE EASTERN DISTRICT OF VIRGINIA CLERC US SISSIES Ean
Richmond Division I RICHMOND. Ym COURT
)
) Criminal No. 3:23-cR- | KC)
)
) 18 U.S.C. § 1951
) Hobbs Act Robbery
UNITED STATES OF AMERICA ) (Count One)
)
) 18 U.S.C. § 924(c)
v. ) Use of a Firearm by Brandishing During
) and In Relation To a Crime of Violence
) (Count Two)
KUMKIO L. MARTIN, JR., )
) 18 U.S.C. § 922(g)(1)
) Possession of a Firearm by a Convicted
Defendant. ) Felon
) (Count Three)
)
) Forfeiture Notice
)
INDICTMENT

November 2023 TERM - At Richmond, Virginia

THE GRAND JURY CHARGES THAT:

COUNT ONE
(Hobbs Act Robbery)

1. At all times material to this Indictment, the Tobacco Hut, located at 6812 Midlothian
Turnpike, Richmond, Virginia, was a commercial entity engaged in the provision of goods and
services in interstate and foreign commerce and an industry that affects interstate commerce.

2. On or about May 4, 2023, in the Eastern District of Virginia and elsewhere, defendant,
KUMKIO L. MARTIN, JR, did unlawfully obstruct, delay, and affect commerce and the
movement of articles and commodities in such commerce, as those terms are defined in Title 18,

United States Code, Section 1951, that is, by unlawfully taking and obtaining property consisting
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of United States currency and other property belonging to Tobacco Hut, from the person of and in
the presence of an employee, against the employee’s will by means of actual and threatened force,
violence, and fear of injury, immediate and future, to said employee’s person, that is by
brandishing a firearm and demanding from the employee money and other property belonging to
the business.

(In violation of Title 18, United States Code, Section 1951).

COUNT TWO
(Use of a Firearm by Brandishing During and in Relation to a Crime of Violence)

On or about May 4, 2023, in the Eastern District of Virginia, the defendant, KUMKIO L.
MARTIN, JR, did brandish a firearm during and in relation to a crime of violence for which he
may be prosecuted in a Court of the United States, to wit: Hobbs Act Robbery, as charged in Count
One of this Indictment, which Count is incorporated by reference herein.

(In violation of Title 18, United States Code, Section 924(c)).

COUNT THREE
(Possession of Firearm by Convicted Felon)

On or about May 4, 2023, in the Eastern District of Virginia and within the jurisdiction of
this Court, the defendant, KUMKIO L. MARTIN, JR, knowing he had previously been convicted
of a crime punishable by imprisonment for a term exceeding one year, knowingly possessed a
firearm, to wit: a SCCY, CPX-3, .380 pistol, serial number A015346, in and affected interstate and
foreign commerce.

(In violation of Title 18, United States Code, Section 922(g)(1).)
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FORFEITURE ALLEGATION

Pursuant to Rule 32.2(a) Fed. R. Crim. P., the defendant is hereby notified that if convicted
of Count One of the Indictment, the defendant shall forfeit to the United States, any property, real
or personal, which constitutes or is derived from proceeds of the offense charged in that count.

The defendant is further notified that upon conviction of any of the offenses alleged in this
Indictment, he shall forfeit any firearm or ammunition involved in or used in any knowing violation
of the offense, or any violation of any other criminal law of the United States.

Property subject to forfeiture includes, but is not limited to:

a SCCY, CPX-3, .380 pistol, serial number A015346;

and any and all accompanying ammunition.
(In accordance with Title 18, United States Code, Section 924(d); Title 18, United States Code,

Section 981(a)(1)(C); and Title 28, United States Code, Section 2461(c).)

A TRUE BILL —

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JESSICA D. ABER
UNITED STATES ATTORNEY
STEPHEN Digital signed by STEPHEN
By: ANTHONY Date: 2023.1 1.06 14:11:30

Stephen E. Anthony
Assistant United States Attorney

